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 23-0184-cv
      United States Court of Appeals
                                 for the

                      Second Circuit

LOUIS OBERLANDER, on behalf of himself and all others similarly situated,
CHRISTOPHER UNDERWOOD, on behalf of himself and all others similarly
               situated, HENRY RODRIGUEZ,
                                                          Plaintiffs-Appellants,
ZENEYDA PATIN, on behalf of themselves and all others similarly situated,
                                                                      Plaintiff,
                                 – v. –
  COINBASE GLOBAL INC., COINBASE, INC., BRIAN ARMSTRONG,
                                                        Defendants-Appellees.
                   ––––––––––––––––––––––––––––––
       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK


           BRIEF FOR DEFENDANTS-APPELLEES


                                          JAY B. KASNER
                                          LARA A. FLATH
                                          ALEXANDER C. DRYLEWSKI
                                          ABIGAIL E. DAVIS
                                          SKADDEN, ARPS, SLATE,
                                            MEAGHER & FLOM LLP
                                          One Manhattan West
                                          New York, New York 10001
                                          (212) 735-3000
                                          Attorneys for Defendants-Appellees
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                          DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, Defendants-

Appellees Coinbase Global, Inc. (“CBGI”) and Coinbase, Inc. (“CBI”) state as follows:

      CBGI is a publicly held corporation and does not have any parent corporation.

To the best of CBGI’s knowledge, no publicly held corporation owns 10% or more of

CBGI’s stock.

      CBI is a wholly owned subsidiary of CBGI.




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                                  INTRODUCTION

      The only contract between any of the parties—the Coinbase Inc. User

Agreement—forecloses Plaintiffs’ claims and is properly considered on a motion to

dismiss. Basic principles of civil procedure compel the conclusion that the District

Court reached below.

      Plaintiffs are users of the two Coinbase trading platforms. The User

Agreement sets the terms for all user activity on these platforms and establishes that

users transact with each other (not any Coinbase entity) and retain title to their digital

assets. The User Agreement is fatal to Plaintiffs’ claim that Defendants are statutory

sellers under Section 12(a)(1) of the Securities Act of 1933. Plaintiffs’ claims for

rescission also fail because, under Section 29(b) of the Securities Exchange Act of

1934, only unlawful contracts may be rescinded—not unlawful transactions made

pursuant to lawful contracts. As Judge Engelmayer recognized (and as Plaintiffs do

not dispute), the User Agreement can be and is performed lawfully, thus foreclosing

these claims.

      From the outset of this case, Plaintiffs recognized the importance of the User

Agreement. In seeking rescission to recover transaction fees that were paid,

Plaintiffs expressly relied on and incorporated that agreement in the original

complaint. All three Plaintiffs in turn affirmed the original complaint—and its

reliance on the User Agreement—when seeking to be appointed co-lead plaintiffs.
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All three Plaintiffs later sought emergency relief to enjoin an update to the User

Agreement due to its purported impact on this litigation. And during those

proceedings, all three Plaintiffs asserted “the primacy” of the governing User

Agreement (Special Appendix (“SPA”)-15) and represented that when they

amended their complaint the scope would be limited and not change the nature of

their claims.

      Then, despite months of relying on the User Agreement and emphasizing its

centrality, Plaintiffs amended their complaint to excise all references to it—even as

Plaintiffs continued to seek rescission to recover transaction fees. The District Court

recognized that Plaintiffs’ attempts to plead around the User Agreement were solely

to evade a necessary dismissal and therefore rightly considered it in dismissing

Plaintiffs’ federal securities claims.

      Now, Plaintiffs’ central argument on appeal is that once they scrubbed their

amended complaint of references to the User Agreement, the District Court was

required to pretend it did not exist. But the law does not blindfold courts that way.

To the contrary, this Court’s precedent expressly authorizes courts to consider

integral documents on a motion to dismiss, whether or not plaintiffs reference them

expressly. Here, the claims and relief that Plaintiffs have pursued throughout the

litigation make the User Agreement an integral document: The User Agreement

exclusively governs the parties’ relationship on the trading platforms and it



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establishes the very transaction fees that Plaintiffs seek to recover—making it the

only contract capable of the rescission Plaintiffs seek.

      Against the backdrop of Plaintiffs’ gamesmanship—repeated recognition by

all three Plaintiffs of the only existing contract between the parties in a case seeking

rescission; direct reliance in the original complaint on that contract; a demand for

emergency relief in which Plaintiffs asserted “the primacy” of that contract; the

promise to the District Court that the nature of their claims would remain the same

upon amendment—the law does not allow Plaintiffs’ attempted erasure of the User

Agreement from its amended complaint to be taken at face value alone. The District

Court recognized Plaintiffs’ chicanery for what it was and invoked a well-recognized

exception in this Circuit in declining to credit Plaintiffs’ newly manufactured

allegations. The District Court correctly viewed those allegations as “strategically

added to elude the facts pled in the Complaint and contained in the User Agreement

that checkmate plaintiffs from adequately pleading [their claims].” (SPA-16.)

      By insisting on appeal that the District Court was required to ignore the User

Agreement as well as their prior allegations and conduct, Plaintiffs ask this Court to

create an absolute rule that prohibits courts from dismissing plainly defective claims

just because of an evasive later pleading. This Court should not mandate such a

wooden and illogical outcome, which would create judicial inefficiency, promote

gamesmanship and waste resources. The District Court correctly rejected Plaintiffs’



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attempted sleight of hand, a decision that was both substantively right and

procedurally proper.

      For the reasons below, this Court should affirm the dismissal of the amended

complaint.

                   COUNTERSTATEMENT OF THE ISSUES

      1.      Whether the District Court properly dismissed Plaintiffs’ federal

securities claims because the properly-considered User Agreement provides that

Defendants do not hold or pass title to digital assets traded on the Platforms,

establishes that users transact with one another and not with any Coinbase entity and

is a lawful contract that does not require performance of any illegal act.

      2.      Whether the District Court was permitted to consider the User

Agreement where (i) the User Agreement is integral to Plaintiffs’ claims, (ii)

Plaintiffs’ conduct concedes their knowledge of the User Agreement and its

centrality to this litigation and (iii) Plaintiffs attempted to evade dismissal by simply

erasing all prior references to the User Agreement and their directly contradictory

factual allegations.

      3.      Whether    the    District   Court    correctly   dismissed     Plaintiffs’

corresponding control person and state law claims.




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                    COUNTERSTATEMENT OF THE CASE

A.      The Parties, Platforms and User Agreement

        Coinbase Global, Inc. (“CBGI”) has been a publicly traded U.S. company

since April 2021. Armstrong is CEO of CBGI. (Joint Appendix (“JA”)-790 ¶12.)

CBGI’s subsidiary Coinbase Inc. (“CBI”) (JA-790 ¶11) operates the Coinbase and

Coinbase Pro trading platforms (“Platforms”) where thousands of users “can buy

and sell cryptocurrencies [also known as digital assets or digital tokens] and

government-issued currencies” and gain access to a broad and constantly expanding

cryptoeconomy. Coinbase, Inc. v. Bielski, 143 S. Ct. 1915, 1918 (2023); (see also

SPA-2-3).

        To transact in or store hundreds of cryptocurrencies available on the

Platforms, including the specific assets at issue (“Tokens”), users must agree to the

User Agreement. (JA-88 ¶273); see also Bielski, 143 S. Ct. at 1918 (“When creating

a Coinbase account, individuals agree to the terms in Coinbase’s User Agreement.”).

The publicly available and periodically updated User Agreement (“UA”) (JA-1044-

81) provides the terms pursuant to which all users, including Plaintiffs, transact on

the Platforms. 1




1
     The UA quoted here and cited by the Order is the December 20, 2021 version.
     The Order refers to it as the “December 2020 User Agreement.” (SPA-13-14 n.5.)


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       Importantly, the UA establishes that users maintain title over the Tokens and

transact with each other, not any Coinbase entity, and imposes the obligation to pay

transaction fees:

       • “Title to Digital Currency shall at all times remain with you and shall not
         transfer to Coinbase” and “[n]one of the Digital Currencies in your Digital
         Currency Wallet are the property of, or shall or may be loaned to [CBI].”
         (JA-1047 §2.6.1.) 2

       • “You control the Digital Currencies held in your Digital Currency Wallet.”
         (JA-1047 §2.6.2.)

       • “When you purchase (buy) or sell Digital Currency on the Coinbase Site,
         you are not buying Digital Currency from [CBI] or selling Digital
         Currency to [CBI]. [CBI] acts as the agent, transacting on your behalf, to
         facilitate that purchase or sale between you and other [CBI] customers.”
         (JA-1048 §3.2.)

       • “By using Coinbase Services you agree to pay all applicable fees.” (JA-
         1048 §3.3.)

       Plaintiffs transacted on the Platforms during the purported class period (JA-

789-90, ¶¶7-9) and have continued to do so even after initiating this litigation (JA-

395-407 (Oberlander); JA-418-19 (Rodriguez); Supplemental Appendix (“SA”)-51-

52 (Underwood).). They allege that the Tokens are unregistered “securities” and that

Defendants violate federal and state securities laws by: (1) acting as statutory sellers

of certain Tokens and (2) failing to register as a securities exchange or broker-




2
    Unless otherwise indicated, all case and record emphasis is added and quotations
    omit all internal citations.


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dealer. 3 Plaintiffs seek rescission to try to unwind potentially millions of transactions

to recover a windfall of corresponding transaction fees. (See, e.g., JA-1012 ¶965;

JA-1014 ¶978; JA-1016 ¶988.) But the law permits only rescission of certain

contracts and not transactions made pursuant to those contracts.

B.      The Complaint References the UA, Admits That Users Transact With
        Each Other and Seeks to Recover Transaction Fees Paid Under the UA

        On October 8, 2021, Underwood, Oberlander and Zeneyda Patin filed a

complaint (“Complaint,” JA-11-96) alleging that CBGI (then the sole defendant)

operated as an unregistered securities exchange and broker-dealer in violation of

Sections 5 and 15(a)(1) of the Securities Exchange Act of 1934 (“Exchange Act”),

15 U.S.C. §§ 78e, 78(o)(a)(1), and corresponding California and Florida statutes.

The Complaint expressly references the UA and seeks rescission to recover

transaction fees pursuant to the UA under Section 29(b) of the Exchange Act, 15

U.S.C. § 78cc(b):

        Coinbase entered into contracts via the Coinbase User Agreement . . .
        pursuant to which Plaintiffs purchased Digital Asset Securities through
        Coinbase and paid Coinbase fees . . . .




3
     Defendants did not present and expressly reserved the issue of whether the
     Tokens are “securities.” (SPA-9.) Defendants expressly maintain that the Tokens
     are not securities, and if addressed by the District Court in the future (if ever),
     these claims would fail on that ground independently as well.


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(JA-88 ¶273; see also ¶¶276, 286 (seeking “damages, including fees paid”); ¶293

(seeking “damages for consideration and fees paid in connection”).) The Complaint

similarly acknowledges that users transact with each other, not any Defendant:

      Once money or digital assets ha[s] been sent to the Coinbase Platform
      and credited to the wallet of a Coinbase Platform user, a Coinbase
      Platform [user] can enter into trade agreements with other Coinbase
      Platform users for purchases and sales of digital assets.

(JA-17 ¶27; see also JA-19 ¶32 (Coinbase Pro).)

C.    Underwood, Oberlander and Rodriguez Jointly Affirm the Complaint’s
      Allegations in Seeking Appointment as Co-Lead Plaintiffs

      Subsequently, Underwood and Oberlander, joined by Rodriguez, jointly

moved for appointment as co-lead plaintiffs. (SA-1-2.) All three Plaintiffs

extensively cited the Complaint, including the specific allegations that users entered

into the UA and transacted with other users rather than any Coinbase entity. (SA-9-

10, 15-16 (citing ¶¶2-3, 12-15, 26-37, 53-71, 262, 268-301).)

      While Plaintiffs (and in particular Rodriguez) now disavow the Complaint,

the joint motion represented that the Complaint was “the product of substantial

investigation” and that proposed co-lead counsel “invested substantial time” in

preparing it. (SA-11-12.) Rodriguez himself affirmed that he “reviewed the

Complaint” and “authorize[d] the filing of a comparable complaint on [his] behalf.”

(JA-412.)

      On the basis of this filing, the District Court appointed Plaintiffs co-lead

plaintiffs. (JA-426-36.)

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D.      Plaintiffs Seek to Enjoin an Update to the UA

        Mere weeks later, all Plaintiffs sought emergency relief to enjoin a normal

course update to the UA. (SA-55-70.) They asserted that “[t]he proposed amendment

to the existing user agreement . . . vastly increase[d] the scope of the present

arbitration clause” and was “directly aimed at undermining this litigation.” (SA-59,

62.) Plaintiffs also argued that “[i]f Coinbase is not prevented from imposing these

changes to the dispute resolution provisions of the [UA], Plaintiffs and the putative

Class will suffer irreparable harm.” (SA-67.) Plaintiffs (including Rodriguez) also

specifically incorporated “the pleadings” in their request for relief. (SA-53-54.)

        In response, the District Court issued an expedited briefing schedule noting

Plaintiffs’ position that “amendments to defendant Coinbase’s user agreement” have

“potential effects on this pending litigation.” (SA-71.) CBGI’s opposition explained

that (i) the correct counterparty to the UA was then-non-party CBI, not CBGI, (ii)

the UA has long included dispute resolution provisions similar to the one challenged

and (iii) CBI updates the UA in the ordinary course. (SA-72-98.) CBGI also

submitted 31 versions of the UA covering August 2017 through December 2020

(SA-100-05) in response to the District Court’s express request (SA-99).4



4
     Plaintiffs continue to mischaracterize CBI’s update to the terms of the UA as a
     “wrongful” attempt to “impede this litigation.” This disparagement is unfounded.
     Defendants never attempted to “impede this litigation” by updating a
     longstanding dispute resolution clause as it had done previously.
                                                                                (cont’d)


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E.      The Parties Reach an Agreement That Resolves Plaintiffs’ Purported
        Concerns Regarding the UA and Authorizes Plaintiffs to File an
        Amended Complaint of Limited Scope

        At the hearing to ascertain the potential impact of the amended UA on

Plaintiffs in “this litigation and to the putative class” (JA-744, 7:21-24), Judge

Engelmayer expressly invited the parties to reach resolution, which the parties did.

(JA-760, 23:5-15.) Plaintiffs’ counsel specifically sought to ensure that CBI—the

only counterparty to the UA but then a non-party to the litigation—would abide by

any representations. (JA-777-78, 40:8-41:19.) In turn, Defendants specifically

sought to ensure that in agreeing that CBI would be bound by a not-yet-filed

amended complaint, that complaint would be consistent with the allegations already

made and affirmed by Plaintiffs. Plaintiffs’ counsel represented in “full disclosure”

that any amendment would be limited in scope, the new claims “follow logically as

a factual matter from the previously pled claims” and the “most significant of the

changes” would be only to “add Section 12(a)(1) claims.” (JA-770-71, 33:22-34:4;

see also JA-771, 34:16-21.) On that basis, the parties resolved the dispute.

        As the stipulation memorialized:

        Lead Plaintiffs made various representations as to the nature and scope
        of the potential amendments in the forthcoming consolidated amended


     Notwithstanding CBI’s ability to properly do so, Defendants accepted the District
     Court’s invitation to moot the controversy by agreeing not to rely on this
     provision of the January 2022 version for purposes of this litigation. (Infra 10-
     11.)


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        complaint . . . , including that they intend to amend to (i) name current
        non-party Coinbase, Inc. as a defendant; (ii) substitute Mr. Rodriguez,
        who is an existing member of the putative class and a Lead Plaintiff, as
        a named plaintiff; (iii) amend the Digital Assets that will be the subject
        of the Amended Complaint in connection with the addition of
        Mr. Rodriguez as a named plaintiff; (iv) allege claims under
        Section 12(a)(l) of the Securities Act of 1933 and state law analogues;
        (v) allege claims relating to controlling person liability; and (vi) allege
        additional state securities claims analogous to those previously
        asserted; but will not otherwise change the general nature of the claims
        asserted in the Action . . . .

(JA-734-35.) In return, CBGI and CBI agreed that they would not “in this Action or

in a related action or proceeding seek to apply . . . the dispute resolution provisions

of the updated [UA] to the Lead Plaintiffs or any other putative class member.” (JA-

735.)

F.      Flouting the Stipulation, Plaintiffs Attempt to Change the Nature of
        Their Claims by Erasing the UA From the Amended Complaint

        Plaintiffs subsequently filed the Amended Complaint (“AC,” JA-781-1041)

renewing their Exchange Act claims; adding Defendants CBI and Armstrong; adding

a claim under Section 12(a)(1) of the Securities Act of 1933 (“Securities Act”), 15

U.S.C. § 77l(a)(1), with respect to certain Tokens; adding claims based on CBGI’s

and Armstrong’s purported “control” of CBI; renewing claims under California and

Florida law; and adding claims under New Jersey law.

        Contrary to Plaintiffs’ representations that “the general nature of the claims”

would not change, the AC attempts to materially alter and directly contradicts the

Complaint. Despite maintaining claims for rescission to recover transaction fees, the


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AC erases all references to the UA. While the Complaint admits users transact with

other users (JA-17 ¶27; JA-19 ¶32), the AC alleges the opposite—asserting for the

first time that buyers and sellers on the Platforms “are not in privity with one

another” (JA-795 ¶33 (emphasis in original)), and that “[c]ustomers on Coinbase

transact solely with Coinbase itself” (JA-1006 ¶936).

G.    The District Court Rejects Plaintiffs’ Attempt to Evade the UA and Their
      Prior Allegations

       The District Court granted Defendants’ motion to dismiss in its entirety.

(SPA-1-27.) In dismissing the Section 12(a)(1) claim with prejudice, the District

Court held that Plaintiffs fail to allege adequately that Defendants were statutory

sellers of securities by virtue of passing title to Plaintiffs and any contrary allegations

are belied by the Complaint and “flatly contradict[ed]” by the UA. (SPA-9-17.) The

District Court further held that the AC fails the second prong of Pinter because it

fails to allege that Defendants directly solicited Plaintiffs’ purchase. (SPA-17-19.)

       The District Court also dismissed the Exchange Act claims with prejudice

because the UA, as the only agreement at issue, is lawful on its face. (SPA-23.)

Under Section 29(b), only unlawful contracts may be rescinded—not unlawful

transactions made pursuant to lawful contracts. (SPA-21.) The District Court

rejected Plaintiffs’ argument that each transaction formed an independent “contract”

subject to rescission as lacking support in the AC or case law. (SPA-22.) The District

Court held that the UA is the only contract capable of rescission and does not


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necessitate illegal acts. (SPA-22-33.) Indeed, Plaintiffs admit to continuing to use

the Platforms since filing suit and that the Platforms have uses that do not require

trading the Tokens. (SPA-23.)

      In dismissing, the District Court acknowledged that an amended complaint

ordinarily supersedes the original pleading but held that this case fit a well-

recognized exception in this Circuit: because the amended allegations “effectively

repudiate diametrically contrary allegations in plaintiffs’ original Complaint, in an

apparent attempt to evade dismissal,” the original allegations can be considered.

(SPA-12-13 (“[T]he Complaint painted a very different portrait of Coinbase, with

factual allegations that undermine the AC’s thesis that Coinbase was a statutory

seller.”).) The District Court also observed that the UA could be considered because

it forms the basis for Plaintiffs’ contractual rescission claims (SPA-14) and “was put

on the case record by plaintiffs . . . in seeking emergency relief” (SPA-15 (emphasis

in original)). Accordingly, having “asserted the primacy” of the UA, Plaintiffs could

not “‘plead around it by refusing to make reference to it’ in the AC.” (SPA-15.)

Thus, the District Court “need not, and d[id] not, accept the AC’s contrary

allegations, which unavoidably emerge[d] as strategically added to elude the facts

pled in the Complaint and contained in the User Agreement.” (SPA-16.)

      Having dismissed the primary federal claims with prejudice, the District Court

dismissed the control person claims. It also declined to exercise supplemental



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jurisdiction over the corresponding state law claims, dismissing them without

prejudice. (SPA-19, 23-25.) This appeal followed.

                          SUMMARY OF ARGUMENT

      I.     The District Court correctly held that Plaintiffs fail to state a claim

under the Securities Act or Exchange Act.

             A.     To plead that Defendants are “statutory sellers” of unregistered

securities in violation of Section 12(a)(1) of the Securities Act, Plaintiffs must allege

that Defendants directly passed title or successfully solicited their purchase. The UA,

however, demonstrates that users transact on the Platforms with one another—not

any Coinbase entity—and users retain title to their Tokens. Plaintiffs’ theory that

Defendants successfully solicited any purchases is equally meritless. It is grounded

in nothing more than the insufficient allegation that “Coinbase” acts as an

“intermediary” on the Platforms. And crediting such an insufficient allegation would

result in a dramatic expansion of liability for collateral participants in purported

securities transactions, contrary to the Supreme Court’s holding in Pinter v. Dahl,

486 U.S. 622 (1988).

             B.     The District Court correctly dismissed Plaintiffs’ claims under

Section 29(b) of the Exchange Act, which allows for rescission only of unlawful

contracts, not unlawful transactions made pursuant to lawful contracts. As the




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District Court recognized (and as Plaintiffs do not dispute), the UA can be and is

performed lawfully in myriad ways, thus foreclosing Plaintiffs’ claims.

      II.    Plaintiffs cannot avoid the UA or their prior allegations through artful

and deceptive pleading.

             A.    The UA is integral to Plaintiffs’ claims. Plaintiffs do not dispute

that the AC seeks rescission and to recover the transaction fees incurred when using

the Platforms. Because the only contract that exists between the parties is the UA

and the obligation to pay transaction fees is imposed and governed by the UA, the

Amended Complaint necessarily relies upon and incorporates the UA, regardless of

whether it is expressly mentioned.

             B.    Plaintiffs’ conduct shows both that they knew about the UA and

its centrality. In addition to relying upon the Complaint (including allegations

referring to the UA) in seeking appointment as co-lead plaintiffs, Plaintiffs

affirmatively sought emergency relief, asserting that an update to the UA would

“undermin[e] this litigation.” (SA-62.)

             C.    Plaintiffs referenced and relied on the UA in the Complaint and

cannot escape it by attempting to erase all mention of it in a subsequent pleading.

The District Court also properly considered the Complaint in the face of directly

contradictory allegations in the AC designed to evade dismissal. While the District

Court acknowledged that an amended pleading ordinarily supersedes an earlier one,



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it correctly held that Plaintiffs’ conduct warranted applying a well-established

exception. This Court should continue to uphold district courts’ discretion to do so.

The policy arguments made by Plaintiffs and Amici are unavailing.

      III.    Having properly dismissed Plaintiffs’ federal claims, the District Court

correctly dismissed their federal control person claims.

      IV.     The District Court’s dismissal of Plaintiffs’ state law claims should be

affirmed because they rise and fall with Plaintiffs’ federal claims. Plaintiffs also fail

to plead the requisite contractual privity.

      Defendants presented additional reasons for dismissal that the District Court

did not reach in light of its holdings. Should this Court decline to affirm, it should

remand for consideration of these arguments in the first instance. See CBF Indústria

de Gusa S/A v. AMCI Holdings, Inc., 850 F.3d 58, 79 (2d Cir. 2017).

                                    ARGUMENT

I.    THE DISTRICT COURT CORRECTLY HELD THAT PLAINTIFFS
      FAIL TO STATE A CLAIM

      Plaintiffs attempt to overcomplicate this appeal. They present eight separate

issues and characterize the Order as imposing a sweeping new rule of civil

procedure. Not so. The District Court correctly held that Plaintiffs fail to state a




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federal securities claim, and Plaintiffs’ state law claims fail for the same reasons. 5

A.      Plaintiffs Fail to State a Securities Act Claim (JA-1005-07)

        Plaintiffs fail to allege either of the Section 12(a)(1) requirements set forth in

Pinter. (SPA-11-19.) Section 12(a)(1) authorizes claims only against one who

“offers or sells” an unregistered security. 15 U.S.C. § 77l(a)(1). A defendant is a

“statutory seller” only if it (1) “passed title, or other interest in the security, to the

buyer for value,” or (2) “successfully solicit[ed] the purchase [of a security],

motivated at least in part by a desire to serve [its] own financial interests or those of

the securities’ owner.” Pinter, 486 U.S. at 642, 647. Defendants did neither.

               1.    No Coinbase Entity Passes Title

        Under Pinter’s first prong, liability attaches to “only the buyer’s immediate

seller,” none of whom are alleged to be parties here. 486 U.S. at 644 n.21; id. at 642

(noting that Section 12 “contemplates a buyer-seller relationship not unlike

traditional contractual privity”). Although the AC summarily asserts that “Coinbase”

is the “actual seller” (JA-789 ¶6) and “the counterparty in every transaction” (JA-

999 ¶910), those allegations are—as the District Court properly held—“flatly

contradicted” by the terms of the UA. (Supra 6 (citing JA-1048 §3.2; JA-1047

§2.6.1).) Therefore, any suggestion that CBI (much less CBGI) passes title such that


5
     This Court reviews de novo a district court’s dismissal for failure to state a claim.
     E.g., In re Trib. Co. Fraudulent Conv. Litig., 10 F.4th 147, 159 (2d Cir. 2021),
     cert. denied sub nom. Kirschner v. FitzSimons, 142 S. Ct. 1128 (2022).


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either could be a statutory seller under Pinter is directly refuted by the UA and the

District Court could not credit the AC’s contradictory allegations. (SPA-15-16.) 6

       The relationship described by the UA is also consistent with Plaintiffs’

admissions in the Complaint, which all Plaintiffs represented would not change in

nature. The Complaint alleged that users transact “with other Coinbase Platform

users for purchases and sales of digital assets,” not any Defendant. (JA-17-18 ¶27;

see also JA-19 ¶32 (Coinbase Pro).) It also alleged that users “purchased [Tokens]

through Coinbase” (JA-88 ¶273), establishing the Platforms’ role as, at most, a mere

intermediary. See Pinter, 486 U.S. at 650 (“Congress did not intend that the section

impose liability on participants[ ] collateral to the offer or sale.”). These allegations

independently render impossible any allegation of privity or passing of title between

Plaintiffs and any Defendant and bar Plaintiffs’ Section 12(a)(1) claims. (SPA-13-

16.)




6
    The District Court also cited Anderson v. Binance, 2022 WL 976824 (S.D.N.Y.
    Mar. 31, 2022), appeal filed No. 22-972 (2d Cir. May 2, 2022), which held that
    the allegation that “Binance users ‘must first transfer the desired crypto-assets to
    Binance’s control by executing a transaction on the Ethereum blockchain’ . . .
    d[id] not support the assertion” that “[d]efendants are also statutory sellers
    because they passed title to [p]laintiffs . . . .” Id. at 3 n.2. The pending Binance
    appeal does not relate to this aspect of the Order.


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             2.     No Defendant Engaged in Successful Solicitation

      Plaintiffs’ Section 12(a)(1) claims also fail because Plaintiffs cannot plead

that CBI or CBGI successfully solicited Plaintiffs’ purchases. As the Supreme Court

emphasized when establishing a narrowed standard in Pinter, “Congress did not

intend that . . . section [12] impose liability on participants collateral to the offer or

sale” or even those whose conduct constituted “substantial participation in the sales

transaction.” 486 U.S. at 650-51. Thus, a plaintiff must allege that “he was directly

contacted by Defendants [and] purchased securities as a result.” (SPA-17-18 (citing

Holsworth v. BProtocol Found., 2021 WL 706549, at *3 (S.D.N.Y. Feb. 22, 2021)).)

      The AC does not allege that CBI or CBGI had any direct contact with any

specific “investors,” much less with Plaintiffs themselves, to solicit any transactions.

See Alpha Cap. Anstalt v. Intellipharmaceutics Int’l Inc., 2020 WL 3318029, at *4

(S.D.N.Y. June 18, 2020) (“[P]laintiffs must show that [defendant] actually solicited

their investment . . . .”). Instead, the AC alleges generically that “Coinbase”

“promote[d] the sale of Tokens by providing users with descriptions of each Token

and its purported value proposition,” “participated in direct promotions, including

‘airdrops’ of free Tokens designed to increase trading volume,” “wr[ote] news

updates on price movements of the Tokens” and “link[ed] to stories about the Tokens

published across the internet.” (JA-999 ¶911.) The District Court correctly held that

these activities, even if credited, “are of a piece with the marketing efforts,



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‘materials,’ and ‘services’ that courts, applying Pinter’s second prong, have held

insufficient to establish active solicitation by a defendant.” (SPA-18 (collecting

cases).)

      Plaintiffs incorrectly argue that the allegation that the “market price” for

Tokens was “displayed” on the Platforms supports the conclusion that this “real-time

pricing data . . . directly facilitated and encouraged each trade.” (Br. 52.) But

providing pricing data, news updates and the like for a large number of digital assets

available on the Platforms shows nothing more than that CBI serves as a repository

of information. It does not show that Defendants encouraged any particular user to

purchase any particular Token. Indeed, a “ministerial act” like displaying prices

“cannot under any view be considered the kind of solicitation necessary under

Pinter” and courts have rejected claims to the contrary. (SPA-18 (citing Wilson v.

Saintine Expl. & Drilling Corp., 872 F.2d 1124, 1126-27 (2d Cir. 1989)).) In

Youngers v. Virtus Investment Partners, Inc., the court granted a motion to dismiss

because allegations about distribution of marketing materials containing detailed

performance metrics, back testing and projected returns for a specific investment

through a company’s website and other channels were insufficient to subject the

company to Section 12 liability. 195 F. Supp. 3d 499, 522 (S.D.N.Y. 2016) (SPA-

18). Although Plaintiffs assert that Judge Engelmayer “misinterpret[ed]” Winters

and Youngers (Br. 51), they do not point to a single case where any of their alleged



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forms of solicitation were found sufficient to establish liability under the second

prong of Pinter. Instead, courts routinely dismiss on the basis of such insufficient

allegations. See, e.g., Emps.’ Ret. Sys. of Gov’t of V.I. v. J.P. Morgan Chase & Co.,

804 F. Supp. 2d 141, 151 (S.D.N.Y. 2011) (allegations that defendants “promoted

and sold [and] solicited sales . . . for financial gain” deemed insufficient);

Holsworth, 2021 WL 706549, at *1 (no solicitation alleged where defendants

“‘continuous[ly] and systematic[ally] market[ed] [specific tokens],’ including by

publishing information ‘designed to make [them] appear to be favorable

investments’”). 7

       Despite faulting the District Court for not citing cases involving “a

defendant’s communication of real-time pricing data” (Br. 52), Plaintiffs themselves

fail to cite any. Nor do Plaintiffs support that charging transaction fees means that


7
    A long line of cases narrowly construes “solicitation.” See, e.g., Royal Am. Mgrs.,
    Inc. v. IRC Holding Corp., 885 F.2d 1011, 1016-17 (2d Cir. 1989) (no Section
    12 liability for an attorney who did not initiate or negotiate sale and thus did not
    “solicit[ ]” it); In re Lehman Bros. Sec. & ERISA Litig., 681 F. Supp. 2d 495, 500
    (S.D.N.Y. 2010) (“While it doubtless is true that [an] architect or builder had a
    lot to do with the characteristics of [a] house—no doubt characteristics that made
    it an attractive and salable product—they cannot properly be said to have
    participated in any legally relevant sense in its resale down the line.”), aff’d sub
    nom. In re Lehman Bros. Mortg.-Backed Sec. Litig., 650 F.3d 167 (2d Cir. 2011);
    Shain v. Duff & Phelps Credit Rating Co., 915 F. Supp. 575, 577 (S.D.N.Y. 1996)
    (“[A]bsent an allegation that defendant had direct contact with plaintiff,
    defendant, as a matter of law, is not subject to § 12 liability.”); see also Pompano-
    Windy City Partners, Ltd. v. Bear Stearns & Co., 794 F. Supp. 1265, 1283-85
    (S.D.N.Y. 1992).


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CBI “earn[s] a commission . . . for persuading their clients to make a particular

investment . . . .” (Br. 52.) That a defendant “acted for its own financial gain,” which

is true for nearly all commercial activity, is insufficient absent more to allege active

solicitation. See Steed Fin. LDC v. Nomura Sec. Int’l, Inc., 2001 WL 1111508, at *7

(S.D.N.Y. Sept. 20, 2001); In re Glob. Crossing, Ltd. Sec. Litig., 2005 WL 2990646,

at *11 (S.D.N.Y. Nov. 7, 2005) (dismissing Section 12 claim despite defendant

“undoubtedly ha[ving] a substantial financial interest in the sale”).

      Further, even if Plaintiffs had pled active solicitation—and they did not—the

District Court properly dismissed their claim because “[the AC] does not plead that

[P]laintiffs purchased and sold the Tokens as a result of such solicitation . . . .”

(SPA-19 (citing Steed, 2001 WL 1111508, at *7 (dismissing claim where plaintiff

“failed to allege that plaintiff in fact purchased the [securities] as a result of

[defendant’s] solicitation”)).) Plaintiffs’ only response is to cite Pinter’s warning

that Congress did not “inten[d] to incorporate tort law doctrines of reliance and

causation into § 12[(a)](1).” (Br. 52.) But Plaintiffs ignore that Pinter itself mandates

that “liability extends only to the person who successfully solicits the purchase.” 486

U.S. at 647; accord Capri v. Murphy, 856 F.2d 473, 479 (2d Cir. 1988) (“[P]laintiffs

must show that [defendant] actually solicited their investment . . . .”). Alleging that

“[c]lass members purchased Tokens at the ‘market price as displayed on the

Coinbase Platform at the time of placement of the order’” (Br. 53) is not enough to



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plead that any supposed solicitation was successful. See Griffin v. PaineWebber,

Inc., 2001 WL 740764, at *2 (S.D.N.Y. June 29, 2001) (“[Plaintiff] must allege not

only that [defendant] actively solicited investors with respect to this transaction but

that [plaintiff] purchased securities as a result of [the] solicitation.”); Holsworth,

2021 WL 706549, at *3 (quoting Griffin). Without such allegations, Plaintiffs cannot

plead, as a matter of law, that Defendants solicited the purchase of any Token. (SPA-

19.)

B.      Plaintiffs Fail to State any Exchange Act Claims (JA-1010-20)

        Plaintiffs’ Section 29(b) claims fail because the only contract between the

parties—the UA—does not require a prohibited or unlawful transaction. (SPA-21-

23.) Although Section 29(b) permits rescission of an illegal contract that violates

Exchange Act provisions, plaintiffs must show “that (1) the contract involved a

prohibited transaction, (2) [they are] in contractual privity with the [defendant] and

(3) [they are] in the class of persons the Act was designed to protect.” Ema Fin., LLC

v. Vystar Corp., 336 F.R.D. 75, 81 (S.D.N.Y. 2020). 8 Critically, “‘only unlawful




8
     Plaintiffs preemptively rebut that “there is no private right of action under Section
     29(b).” (Br. 56.) Defendants never made that argument. Instead, they argued there
     is no private right of action under Section 5 or 15(a). (District Court Docket
     (“SDNY-ECF”) 59 at 13-17; SDNY-ECF 67 at 7-8.) Plaintiffs also incorrectly
     claim that Defendants only challenged the first element of Section 29(b) below.
     (Br. 53.) Defendants also contested contractual privity. (SDNY-ECF 59 at 19-20;
     SDNY-ECF 67 at 10.)


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contracts may be rescinded, not unlawful transactions made pursuant to lawful

contracts.’” In re Bernard L. Madoff Inv. Sec., LLC, 605 B.R. 570, 591 n.11

(S.D.N.Y. 2019), aff’d, 830 F. App’x 669 (2d Cir. 2020); (see also SPA-21 (same

(quoting Zerman v. Jacobs, 510 F. Supp. 132, 135 (S.D.N.Y. 1981), aff’d, 672 F.2d

901 (2d Cir. 1981))).) Plaintiffs cannot plead that the UA is an unlawful contract.

      Courts routinely hold that contracts are “unenforceable under § 29(b) only

when the contract ‘on its face’ requires the performance of an illegal act.” Tanzanian

Royalty Expl. Corp. v. Crede CG III, Ltd., 2019 WL 1368570, at *13 (S.D.N.Y.

Mar. 26, 2019); see also Omega Overseas Partners, Ltd. v. Griffith, 2014 WL

3907082, at *4 (S.D.N.Y. Aug. 7, 2014) (“[A] contract can be voided under § 29(b)

only where the ‘agreement cannot be performed without violating the securities

laws . . . .’”); Acuitas Cap., LLC v. Ideanomics, Inc., 2023 WL 4373314, at *1

(S.D.N.Y. June 21, 2023) (When the contract between the parties “permit[s], but . . .

d[oes] not mandate [the sale of] securities purchased thereunder . . . [it] is not an

inherently unlawful contract subject to rescission under Section 29(b).”). By

Plaintiffs’ own admissions, transacting on the Platforms does not require unlawful

conduct: “[P]laintiffs admit to continuing to use the [Platforms] since filing the

original lawsuit” and admit that the Platforms “ha[ve] other uses beyond the trading

of [alleged] securities, including the trading of crypto-commodities (such as Bitcoin

or Ethereum) that are not the subject of this suit.” (SPA-23; JA-515-16 n.3; see also



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JA-800 ¶49.) Because users can transact in products that are not alleged securities

or not transact at all, the District Court correctly held that “‘the customer agreement

at issue here is a lawful one.’” (SPA-23 (quoting Madoff).)

       Plaintiffs try to avoid this result by arguing that “each purchase or sale of a

Token constitutes a separate contract.” (Br. 54.) The District Court properly rejected

Plaintiffs’ contention as factually unsupported, even in the AC:

       Plaintiffs’ notion that each transaction involving any one of the Tokens
       is the “contract” implicated by their Section 29(b) claims lacks factual
       support—the AC does not, for example, identify any transaction-
       specific contract.

(SPA-22.) Nowhere does the AC plead the terms of any purported transaction-

specific contracts. And there is no dispute that Plaintiffs seek to recover transaction

fees paid pursuant to the UA, not any vague and unidentified “contract” underlying

individual transactions. (JA-1012-14 ¶¶965, 978; JA-1048 §3.3 (“By using Coinbase

Services you agree to pay all applicable fees.”).)

       The District Court also correctly held that Plaintiffs’ position “is without

support in the case law.” (SPA-22.) Rather than identify any controlling case law,

which does not exist,9 Plaintiffs attempt to analogize to retail shopping. (Br. 54-55.)




9
    Instead of grappling with the case law, Plaintiffs make the same circular
    argument they did below—that contrary cases involve the “sole contract”
    between the parties. (Br. 55.) The District Court properly rejected this argument
    because there is only one contract between the parties: the UA. (SPA-22.)


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The analogy fails not only because users transact among one another on the

Platforms, not with Defendants (supra 17-18), but also on the face of Section 29(b)’s

text, which relates to contracts rather than purchases or sales. See, e.g., Schindler

Elevator Corp. v. U.S. ex rel. Kirk, 563 U.S. 401, 407 (2011) (“Statutory

construction must begin with the language employed by Congress and the

assumption that the ordinary meaning of that language accurately expresses the

legislative purpose.”); (Cf. Br. 58 (acknowledging that “Section 29(b) of the

Exchange Act applies to ‘[e]very contract made in violation of any provision [of the

Exchange Act]’ . . . . By contrast, [Plaintiffs’] state law claims apply to every

purchase or sale of a security.” (quoting 15 U.S.C. § 78cc(b)) (emphasis in

original))). 10 Thus, if Congress wanted Section 29(b) to apply to individual

transactions, it would have said so. See In re Barnet, 737 F.3d 238, 246 (2d Cir.

2013) (“[T]he preeminent canon of statutory interpretation requires us to ‘presume

that the legislature says in a statute what it means and means in a statute what it says

there.’”). Instead, because Section 29(b) does not apply to individual transactions




10
     Gallo Wine Distribs., L.L.C. v. Niebaum-Coppola Est. Winery, L.P., 56 F. App’x
     8 (2d Cir. 2003) (summary order) (Br. 54-55), is distinguishable because the
     “discrete agreements to purchase goods[ ] were separate and distinct from the
     underlying contractual obligation, under the distributorship agreement,” which
     governed the notice requirements for ending the distributorship relationship. Id.
     at 10. In contrast, the UA governs the terms of the relationship here.


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and because the UA is the only contract for purposes of Section 29(b) and “[does]

not necessitate illegal acts,” Plaintiffs’ claims fail. (SPA-23.)

II.   PLAINTIFFS CANNOT EVADE THE UA OR THEIR PRIOR
      ALLEGATIONS

      Unable to dispute that once the UA is considered it is fatal to their claims,

Plaintiffs spend most of their Brief urging this Court to ignore the UA and their prior

allegations. (Br. 36-47, 16-35.) Plaintiffs’ efforts to scrub these materials from the

litigation solely to avoid an otherwise inevitable dismissal should be rejected. The

UA is fundamental to Plaintiffs’ claims: it is an integral document that establishes

the terms of Plaintiffs’ transactions on the Platforms and forms the entire basis for

their demand to recover transaction fees as damages. Plaintiffs’ own actions,

including seeking to enjoin an update to the UA, show that they knew about the UA

and believed it central to this litigation. The UA is also incorporated by reference in

the Complaint and cannot simply be “erased”—even at the motion to dismiss stage—

by a subsequent pleading. Thus, the District Court did not have to and rightly did

not accept the allegations in the AC that “unavoidably emerge as strategically added

to elude the facts pled in the Complaint and contained in the User Agreement.”

(SPA-16.)




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A.      The User Agreement Is Integral to the AC Because of the Nature of
        Plaintiffs’ Claims and Relief Sought

        The UA is properly considered because courts may consider documents on a

motion to dismiss—even if not explicitly referenced—if the complaint “relies

heavily upon its terms and effect,” thereby rendering it “integral.” Int’l Audiotext

Network, Inc. v. AT&T Co., 62 F.3d 69, 72 (2d Cir. 1995). In the face of an integral

document, the Court “may look to the agreement itself” rather than accept the AC’s

allegations about the nature of that relationship as true, precisely as the District Court

did. Broder v. Cablevision Sys. Corp., 418 F.3d 187, 196 (2d Cir. 2005).

        Plaintiffs do not (because they cannot) dispute the propriety of a court doing

so. 11 Their own caselaw recognizes as much. See U.S. ex rel. Foreman v. AECOM,

19 F.4th 85, 107 (2d Cir. 2021) (Br. 36-39) (“In most instances where this [integral

document] exception is recognized, the incorporated material is a contract or other

legal document containing obligations upon which the plaintiff’s complaint stands

or falls, but which for some reason—usually because the document, read in its

entirety, would undermine the legitimacy of the plaintiff’s claim—was not attached

to the complaint.”), cert denied, 142 S. Ct. 2679 (2022); see also Duffey v. Twentieth

Century Fox Film Corp., 14 F. Supp. 3d 120, 124 n.1 (S.D.N.Y. 2014) (“This rule



11
     Amici, who largely repeat the arguments made by Plaintiffs, likewise concede
     that consideration of an integral document is appropriate. (Brief for Amici Curiae
     Civil Procedure Scholars in Support of Plaintiffs-Appellants (“Amici”) 28 n.7.)


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prevents plaintiffs from surviving 12(b)(6) motions because of ‘clever drafting’

alone . . . .”).

        Despite Plaintiffs’ attempt to plead around the UA, it is plainly relevant as the

AC continues to assert claims for rescission, just as the Complaint did. (SPA-14

(“Insofar as plaintiffs sought contractual recission of the transactions, the contractual

obligations between Coinbase and plaintiffs—as set out in the User Agreement—are

central to plaintiffs’ claims in the Complaint, which ‘rel[ies] on the terms and effect

of’ the User Agreement ‘in drafting the Complaint . . . .’”).) The UA sets the rules

by which users transact on the Platforms and provides the basis for CBI to charge

the very transaction fees that Plaintiffs seek to recover as damages in both the

Complaint and the AC. (Supra 7-8.) Accordingly, the UA provides the terms that

establish the nature of the parties’ relationship. See In re Trib. Co. Fraudulent Conv.

Litig., 10 F.4th at 176 (affirming the district court’s ability to consider documents

setting forth the terms of the parties’ relationship as integral); see also Foreman, 19

F.4th at 107-18 (noting the applicability of this exception to a variety of documents

that may form the basis of a claim, including emails, contracts or documents filed

with the SEC). 12 The UA was properly considered by the District Court because to

ignore it would be to ignore the basis of the claims themselves and the relief sought.


12
     The outcome of Foreman is distinguishable given the nature of the documents at
     issue: a government report and work order that were not integral to a claim under
                                                                                  (cont’d)


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B.      Because Plaintiffs Possessed and Knew About The User Agreement and
        Relied Upon It in Bringing Suit, the Court Properly Considered It

        The District Court was right to consider the UA because a court may consider

documents at the motion to dismiss stage that were “‘possessed by or known to the

plaintiff and upon which it relied in bringing the suit.’” (SPA-14 (quoting ATSI

Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007)).) All three

Plaintiffs expressly cited allegations referring to the UA as a basis for their joint

motion to be appointed co-lead plaintiffs prior to filing the AC. (Supra 8.) And “[the

UA] was put on the case record by plaintiffs, soon after they filed the Complaint, in

seeking emergency relief.” (SPA-15.) In so doing, Plaintiffs “asserted the primacy”

of the UA. (Id.) Indeed, Plaintiffs argued (incorrectly) that a normal course update

to this agreement was “directly aimed at undermining this litigation.” (SA-62, 63.)

When CBGI pointed out to the District Court that the sole counterparty to the UA

was not even a party to the litigation, Plaintiffs represented that they would amend

to name CBI as a defendant. (Supra 10-11.) Unquestionably, Plaintiffs both

“‘possessed’” the UA and “‘relied [on it] in bringing the suit’”—and as such they

“‘cannot plead around it by refusing to make reference to it’ in the AC.” (SPA-15.)



     the False Claims Act. Moreover, the Court clarified that “there [must be] no
     serious dispute as to the document’s authenticity” and rejected consideration of
     certain government work orders because it was “unclear what th[ey] [we]re or
     whether all or one of th[em] reflect[ed] a true and correct copy.” 19 F.4th at 107-
     09. Here, there is no dispute about the UA’s authenticity.


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        Despite Plaintiffs’ assertion that “‘evidence produced on application for a

preliminary injunction may not be considered’ on a motion to dismiss” (Br. 40

(citing Exchange National Bank of Chicago v. Touche Ross & Co., 544 F.2d 1126

(2d Cir. 1976)), the law does not impose a bright-line rule against considering an

integral document on a motion to dismiss simply because it was also put on the

record in connection with a TRO. 13 Such a rule would effectively allow parties to

“hide” a document for motion to dismiss purposes despite having used the very same

document to seek emergency relief. To the contrary, courts routinely take into

account whether submitting a document in connection with a TRO shows that a

plaintiff possessed or relied on the document, just like the District Court. See First

Lincoln Holdings, Inc. v. Equitable Life Assurance Soc’y, 164 F. Supp. 2d 383, 386

n.3 (S.D.N.Y. 2001) (“Although [plaintiff] did not attach the [documents] to its

complaint, these documents are integral to its breach of contract claim. [Plaintiff]

did attach these documents to its preliminary injunction motion, so it cannot be said

that plaintiff was without notice of the[m] . . . .”), aff’d, 43 F. App’x 462 (2d Cir.

2002) (relying on document considered below); see also Telebrands Corp. v. Del

Lab’ys, Inc., 719 F. Supp. 2d 283, 290 (S.D.N.Y. 2010) (“[W]e may properly



13
     Touche Ross simply states the general rule that ordinarily facts set forth in the
     complaint are assumed to be true. But this case is a well-settled exception to the
     general rule.


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consider the parties’ License Agreement in this case because, apparently

unbeknownst to plaintiff’s current counsel, the License Agreement became part of

the Court’s record when plaintiff’s prior counsel submitted it as an exhibit to their

motion for a TRO.”).

      Contrary to Plaintiffs’ assertion, the District Court did not find that the mere

introduction of the UA in seeking a TRO made it automatically admissible. Rather,

as the District Court correctly observed, Plaintiffs’ own decision to initiate those

proceedings showed both that they possessed the document and that it is central to

their claims—meeting the standard for whether the document can be considered.

Moreover, Plaintiffs’ (and Amici’s) attempt to justify excision of all reference to the

UA on the grounds that, as part of seeking emergency relief, the “[p]arties reserve[d]

all rights with respect to the [prior] versions of the [UA], including but not limited

to the enforceability and applicability” (JA-735-36; Amici 29) is a red herring.

Plaintiffs reserved their right to challenge any future attempt to compel arbitration

pursuant to an earlier version of the UA but never suggested that the UA would no

longer be central to the litigation. To the contrary, Plaintiffs represented that the

nature of their claims, which referenced the UA, would not change and Defendants

relied on that representation. (Supra 10-11.) Plaintiff cite no case law allowing them

to walk away from such a representation, let alone requiring a court to ignore it.




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C.    Plaintiffs Cannot Erase or Directly Contradict Prior Allegations to
      Attempt to Avoid Dismissal

      Plaintiffs and Amici devote significant space to whether the District Court

properly considered erased or directly contradictory allegations in the Complaint.

(Br. 16-35; Amici 4-13.) Contrary to their assertions, the Order is consistent with a

long line of decisions in this Circuit and others that stand for the common-sense

principle that courts are not required to and need not turn a blind eye to evasive

pleading tactics. Instead, courts may decide, in light of the specific circumstances,

to consider prior allegations rather than artful pleading designed to evade dismissal.

Without question, the “context-specific” task of determining whether a complaint

states a claim requires a court to “draw on its judicial experience and common

sense.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

             1.      Plaintiffs Cannot Erase An Allegation in the Complaint That
                     Incorporated the UA by Reference

      Plaintiffs argue that they can effectively “erase” the Complaint’s prior

reference to the UA by filing a superseding complaint (Br. 37), but the law does not

permit such gamesmanship. To the contrary, as this Court and others have found, a

plaintiff “cannot evade [consideration of an integral document] merely because [it]

carefully omitted mention of [it].” Chen v. Antel Commc’ns, LLC, 653 F. App’x 43,

44 (2d Cir. 2016).




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        Indeed, in Wright v. Green Tree Servicing LLC, 2016 WL 4098404 (S.D.N.Y.

July 25, 2016), aff’d, 685 F. App’x 67 (2d Cir. 2017) (summary order), the district

court expressly considered a document attached to an earlier complaint when

dismissing a subsequent complaint that failed to attach or refer to it. Id. at *1 n.1.

This Court also deemed a document integral and considered it where an “amended

complaint did not explicitly refer to” it but the “original complaint did.” James v.

Bradley, 808 F. App’x 1, 3 (2d Cir. 2020) (summary order); see also James v. Gage,

2019 WL 1429520, at *7 (S.D.N.Y. Mar. 29, 2019) (finding it appropriate to

consider documents attached to an earlier complaint in deciding a motion to dismiss

even though the documents were excluded from the latter operative complaint).

Similarly, in Poindexter v. EMI Record Group Inc., 2012 WL 1027639 (S.D.N.Y.

Mar. 27, 2012), Judge Swain considered a document “attached to the original

complaint (and omitted from the Amended Complaint)” while noting that “even

though the Amended Complaint is the operative pleading, the Court may still credit

admissions in the original complaint and attached exhibits.” Id. at *1-2. 14



14
     Plaintiffs are wrong (Br. 17, 25) that statements in superseded complaints cannot
     constitute judicial admissions. See Andrews v. Metro N. Commuter R. Co., 882
     F.2d 705, 707 (2d Cir. 1989) (“The amendment of a pleading does not make it
     any the less an admission of the party.”); see also Bellefonte Re Ins. Co. v.
     Argonaut Ins. Co., 757 F.2d 523, 528-29 (2d Cir. 1985) (“A party’s assertion of
     fact in a pleading is a judicial admission by which it normally is bound throughout
     the course of the proceeding. Accordingly, the district court properly disregarded
                                                                                  (cont’d)


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      This Court has also affirmed dismissal on the basis of allegations in

superseded complaints where the amended complaint excised key allegations in an

instance of artful pleading. See, e.g., In re Herald, 730 F.3d 112, 118-19 & n.6 (2d

Cir. 2013) (considering superseded complaint and discussing “Congress’s purpose

to negate the artful pleading by which certain plaintiffs evaded the dictates of the

PSLRA,” 15 U.S.C. §§ 77z-1, 78u-4). Indeed, even Plaintiffs’ own case law

acknowledges that there may be “rare occasion to disregard the contradictory and

manipulated allegations of an amended pleading.” DuMont v. Litton Loan Serv., LP,

2015 WL 1061138, at *8 (S.D.N.Y. Mar. 11, 2015) (Br. 25-26).

      Contrary to Plaintiffs’ and Amici’s sweeping assertion that other Circuits

refuse to consider any allegations in an original complaint (Br. 18-22; Amici 10-14),

many do when faced with similar attempts to plead around fatal prior allegations and

incorporated documents. For example, the Seventh Circuit allowed consideration of

a document incorporated by reference in an original complaint even after the

amended complaint excised references to it and upheld a dismissal “based upon

undisputed public information plaintiffs themselves brought before the district

court.” Orgone Cap. III, LLC v. Daubenspeck, 912 F.3d 1039, 1048 (7th Cir. 2019).

There, the court acknowledged that “[a]n amended pleading does not operate as a



   [plaintiff’s] affidavits seeking to controvert its own pleading [at the motion to
   dismiss stage].”).


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judicial tabula rasa,” and that “‘[a]bsent a claim that there is a plausible, good-faith

basis to challenge the legitimacy of [a prior complaint],’ the court is entitled to take

judicial notice of a complaint and its contents.” Id. (third alteration in original)

(quoting Watkins v. United States, 854 F.3d 947, 950 (7th Cir. 2017)). Indeed,

appellants in Orgone made the same argument on appeal that Plaintiffs and Amici

make—i.e., that even if “prior pleadings c[an] be introduced at trial [they can]not

[be] on a motion to dismiss.” Reply Brief of Plaintiffs-Appellants in Orgone Capital

III, 2018 WL 3846308, at *6. The Seventh Circuit rejected that argument.

      Likewise, in Dudek v. Prudential Securities, Inc., the Eighth Circuit

considered a prior complaint’s allegations in determining that the claims in the

operative complaint were preempted. 295 F.3d 875, 879-80 (8th Cir. 2002). The

court did so even though the new complaint “deleted” various allegations supporting

preemption that “permeated their [original] complaint.” Id. at 879.

      Here, the Complaint unequivocally alleged that “Coinbase entered into

contracts via the Coinbase User Agreement, with Plaintiffs and the members of the

Class and Subclasses, pursuant to which Plaintiffs purchased Digital Asset

Securities through Coinbase and paid Coinbase fees” (Supra 7.) When CBGI (then

the only defendant) highlighted that it was not a counterparty to the UA, Plaintiffs

amended to name CBI—the counterparty—as a defendant. (Supra 9-11.) Not only

did Plaintiffs represent that the AC would not “change the general nature of the



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claims asserted” (JA-734-35), but they also continue to pursue claims for rescission

and seek recovery of transaction fees. Thus, Plaintiffs’ claims necessarily remain

dependent on the UA, regardless of their artful pleading and cagey omissions. (SPA-

15 (citing Van Houtven v. Adams, 2014 WL 1338066, at *2 (S.D.N.Y. Apr. 3, 2014),

aff’d, 605 F. App’x 37 (2d Cir. 2015)).)

             2.     District Courts Can Consider Directly Contradictory
                    Factual Allegations

      The same reasoning and result applies to Plaintiffs’ directly contradictory

factual allegations in the Complaint. These allegations, i.e., that users transact with

each other on the Platforms and not with “Coinbase,” are also fatal to Plaintiffs’

claims. (Compare JA-17 ¶27, JA-19 ¶32 with JA-795 ¶33, JA-1006 ¶936.) Although

this Court can affirm the dismissal solely due to the integral nature of the UA, the

District Court rightly considered the full procedural history when evaluating the

AC’s intentionally evasive and directly contradictory allegations.

      Within this Circuit, “there is authority supporting the notion that a court may

disregard amended pleadings when they directly contradict facts that have been

alleged in prior pleadings.” Scarola Malone & Zubatov LLP v. Verizon Commc’ns,

Inc., 2015 WL 3884211, at *5 (S.D.N.Y. June 24, 2015), aff’d sub nom. Scarola

Malone & Zubatov LLP v. McCarthy, Burgess & Wolff, 638 F. App’x 100 (2d Cir.




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2016) (summary order). 15 “Most courts that have disregarded allegations in an

amended complaint in order to consider contradictory allegations in a previous

pleading have done so in special circumstances.” Id. 16 For example, “[w]here a

‘plaintiff blatantly changes his statement of the facts in order to respond to the

defendant[’s] motion to dismiss . . . [and] directly contradicts the facts set forth in

his original complaint,’ a court is authorized ‘to accept the facts described in the

original complaint as true.’” Colliton v. Cravath, Swaine & Moore LLP, 2008 WL

4386764, at *6 (S.D.N.Y. Sept. 24, 2008) (considering prior allegations where an

amended pleading was “a transparent attempt . . . to avoid a dispositive defense”),

aff’d, 356 F. App’x 535 (2d Cir. 2009) (summary order).

        As another example, in dismissing a complaint, a district court declined to

credit as true allegations in an amended complaint that were “contradicted” by more


15
     “Although this Court’s rulings by summary order do not have precedential effect,
     see 2d Cir. Local R. 32.1.1(a), ‘denying summary orders precedential effect does
     not mean that the court considers itself free to rule differently in similar cases.’”
     Cohen v. Rosicki, Rosicki & Assocs., P.C., 897 F.3d 75, 81 n.5 (2d Cir. 2018).
     Moreover, “summary orders . . . [have] to be deemed some indication of how the
     Court of Appeals might rule were it to decide the issue in a binding opinion.”
     Boykin v. United States, 2020 WL 774293, at *7 (S.D.N.Y. Feb. 18, 2020)
     (alterations in original).
16
     Ultimately, the district court in Scarola concluded that “[s]pecial circumstances”
     warranted consideration of the plaintiffs’ earlier complaint because the
     allegations “directly contradict[ed] those in [the] amended pleadings.” 2015 WL
     3884211, at *6. This Court affirmed the dismissal by summary order, stating that
     the Court had “reviewed [plaintiff’s] remaining arguments and conclude[d] they
     [were] without merit.” 638 F. App’x at 103.


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specific statements in an earlier pleading. Delaney v. Farley, 2014 WL 5795562, at

*4 (S.D.N.Y. Nov. 7, 2014), aff’d, 623 F. App’x 14 (2d Cir. 2015) (summary order).

This Court affirmed by summary order, specifically referencing allegations from the

earlier complaint. See 623 F. App’x at 16 (“Consistent with allegations in his

original complaint . . . .”). 17

        Contrary to Plaintiffs’ and Amici’s characterization of the Order as an

“outlier” (Br. 26; Amici 8-10), this long and consistent line of cases confirms that

judges not only have but should use their discretion to consider directly contradictory

allegations designed to evade dismissal:

        • Forrest v. N.Y.C. Hous. Auth., 2023 WL 3203646, at *6 (S.D.N.Y. May 2,
          2023) (“It is true that an amended complaint generally may clarify, explain,
          or even omit allegations made in an original complaint . . . . But that is not
          this case, where, as the Court has found, allegations in the [amended
          complaint] run directly contrary to the original Complaint.”).

        • Wheeler v. Slanovec, 2019 WL 2994193, at *6 (S.D.N.Y. July 9, 2019)
          (“In cases ‘where allegations in an amended pleading ‘directly contradict’
          pleadings in the original complaint, courts have disregarded the amended
          pleading.’ . . . The Court is therefore not obligated to credit Plaintiff’s new
          and contradictory allegation . . . .”).


17
     Similarly, the Supreme Court has held and this Court has reiterated that courts
     may look beyond “the face of the plaintiff’s complaint” when dismissing on
     preemption or jurisdictional grounds “[i]f a court concludes that a plaintiff has
     ‘artfully pleaded’ claims.” Rivet v. Regions Bank of La., 522 U.S. 470, 475
     (1998); accord Fry v. Napoleon Cmty. Schs., 580 U.S. 154, 169-70 (2017) (“The
     inquiry . . . does not ride on whether a complaint includes (or, alternatively,
     omits) [ ] precise words” because “a ‘magic words’ approach” would be “too easy
     to bypass.”); see also, e.g., In re Herald, 730 F.3d at 118-19 & n.6.


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        • Romain v. Cap. One, N.A., 2013 WL 6407731, at *3 (E.D.N.Y. Dec. 9,
          2013) (“Plaintiff alleged in his original Complaint that he received the
          right-to-sue letter on September 27, 2011 . . . . Such an assertion flatly
          contradicts his current allegation, and the Court, therefore, need not accept
          it.”).

        Plaintiffs and Amici offer no compelling reason to eliminate this judicial

discretion in favor of an unyielding, bright-line prohibition. Plaintiffs even concede

that amended allegations may be disregarded in certain circumstances. (Br. 25-26.)

Defendants do not suggest that superseded pleadings should always be considered,

only that they rightly are in cases like this. 18 Neither Dluhos nor any of Plaintiffs’ or

Amici’s other Second Circuit decisions (Br. 16-17; Amici 5-6) address a situation

where, as here, a plaintiff directly contradicts its prior factual allegations in a

transparent attempt to evade dismissal.

        Even among the decisions Plaintiffs identify in this Circuit as having declined

to consider prior allegations on a motion to dismiss (Br. 18), many of those courts

expressly recognized that they could have done so in appropriate circumstances (i.e.,



18
     As the District Court recognized, “[o]rdinarily, an amended complaint
     ‘supersedes the original, and renders it of no legal effect.’” (SPA-12 (citing
     Dluhos v. Floating & Abandoned Vessel, Known as N.Y., 162 F.3d 63, 68 (2d
     Cir. 1998)).) Amici incorrectly assert that the word “ordinarily” is limited to
     timing issues that arise when an amended complaint has not yet been “properly
     served.” (Amici 5 n.3.) But the case upon which they rely, International Controls
     Corp. v. Vesco, 556 F.2d 665 (2d Cir. 1977), did not address whether—much less
     hold that—the “ordinary” qualifier is limited to such considerations. Id. at 668-
     69. And this Court has more recently affirmed decisions considering prior
     complaints where warranted. (Supra 37-38).


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where the earlier allegations directly contradicted the amended pleading). E.g., Streit

v. Bushnell, 424 F. Supp. 2d 633, 639 n.4 (S.D.N.Y. 2006) (distinguishing

allegations at issue from cases where the amended allegations were “blatant” or

“directly contradictory”); Contant v. Bank of Am. Corp., 2018 WL 5292126, at *3

(S.D.N.Y. Oct. 25, 2018) (same); Morris v. City of New York, 2022 WL 2866450, at

*1-3 (S.D.N.Y. July 21, 2022) (same); Goldrich v. Masco Corp., 2023 WL 2649049,

at *2-3 (S.D.N.Y. Mar. 27, 2023). The bright-line prohibition Plaintiffs seek is not

the law, nor should it be.

      Plaintiffs’ sweeping contentions that affirming the Order would “creat[e] an

inter-circuit split with the ten other circuit courts that have ruled on this issue” (Br.

25) and that “nearly every other circuit” has determined that prior pleadings may not

be considered (Br. 18) are wrong. For example, although Plaintiffs acknowledge that

“some district courts in the Ninth [Circuit] have suggested that superseded pleadings

may be considered when they contradict the amended pleadings” (Br. 22), they fail

to mention that the Ninth Circuit itself has done so as well. See Rodriguez v. Sony

Comput. Ent. Am., LLC, 801 F.3d 1045, 1054 (9th Cir. 2015) (“[Plaintiff’s]

subsequent attempt to thwart the statutory language [through] artful[ ] pleading . . .

is unconvincing, especially considering that the more recent pleading completely

contradicts the earlier pleading.”). Amici too ignore this subsequent Ninth Circuit

case law. (Amici 12.)



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        And despite Plaintiffs’ attempt to cast the Eighth Circuit as having a rule

rendering prior complaints universally obsolete (Br. 21-22), the decision they cite

acknowledges that there are exceptions. See In re Atlas Van Lines, Inc., 209 F.3d

1064, 1067 (8th Cir. 2000) (holding original complaint was controlling). In addition,

a subsequent Eighth Circuit decision expressly considered on a motion to dismiss

“facts according to the allegations in the pleadings, including [plaintiff’s] initial and

amended complaints and the record created as a result of [plaintiff’s] motion for

temporary restraining order [and] preliminary injunction.” Miller v. Redwood

Toxicology Lab’y, Inc., 688 F.3d 928, 931 (8th Cir. 2012). 19

        District court decisions across the country are in accord with the approach

taken by courts within this Circuit. Plaintiffs and Amici do not dispute that district

courts in the D.C. Circuit consider contradictory, superseded allegations. (Br. 22;

Amici 13.) Plaintiffs and Amici fail to mention, however, that courts in other circuits

have done so too. For example, a district court in the Eleventh Circuit held that “the

rule governing amended pleadings superseding former pleadings is a ‘general’ one,”

and explained that “several decisions from courts in the Second Circuit . . . have held

that courts ‘[i]n rare circumstances . . . will consider prior pleadings . . . when the



19
     Nor do the Seventh and Eighth Circuits permit a plaintiff to simply erase prior
     allegations in an attempt to eliminate reference to integral documents or through
     artful pleading. (Supra 35-36.)


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plaintiff directly contradicts the facts set forth in his original complaint.” Fernandez

v. Sch. Bd. of Miami-Dade Cnty., 201 F. Supp. 3d 1353, 1361 n.1 (S.D. Fla. 2016)

(considering allegations in earlier complaints in face of “inexplicabl[e]” removal

from subsequent complaint). Tellingly, the court “found no Eleventh Circuit

authority that would bar the invocation of this exception under these specific

circumstances—where plaintiffs have manipulated the allegations in their pleadings

to avoid a dispositive defense.” Id.; see also Ransom v. San Jacinto Junior Coll.,

2014 WL 3843642, at *1 n.2 (S.D. Tex. Aug. 4, 2014).

        Numerous out-of-circuit cases upon which Plaintiffs rely simply do not

address whether a district court can consider contradictory pleadings in certain

circumstances. Instead, those cases either repeat the uncontroversial rule that an

amended complaint ordinarily supersedes the original or discuss other evidentiary

or jurisdictional issues without having occasion to grapple with special

circumstances like those here. 20


20
     (E.g., Br. 18-22 (citing Judon v. Travelers Prop. Cas. Co. of Am., 773 F.3d 495,
     503 n.6 (3d Cir. 2014); Mink v. Suthers, 482 F.3d 1244, 1254 (10th Cir. 2007);
     Miller v. Glanz, 948 F.2d 1562, 1565 (10th Cir. 1991); Franklin v. Kan. Dep’t of
     Corr., 160 F. App’x 730, 734 (10th Cir. 2005); Spencer v. City of Cheyenne, 1 F.
     App’x 863, 864-65 (10th Cir. 2001); Fawzy v. Wauquiez Boats SNC, 873 F.3d
     451, 455 (4th Cir. 2017); New Orleans Ass’n of Cemetery Tour Guides & Cos. v.
     New Orleans Archdiocesan Cemeteries, 56 F.4th 1026, 1033 (5th Cir. 2023);
     Calhoun v. Bergh, 769 F.3d 409, 410 (6th Cir. 2014); Shell v. Parrish, 448 F.2d
     528, 530 (6th Cir. 1971); Nolen v. Lufkin Indus., Inc., 469 F. App’x 857, 860
     (Fed. Cir. 2012)).)


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      Regardless of whether the allegation was “erased” or directly contradicted,

the District Court was correct to conclude that special circumstances—particularly,

Plaintiffs’ choice to seek injunctive relief relating to the UA—required rejection of

the Amended Complaint’s “allegations as to privity and title” that were “strategically

added to elude the facts pled in the Complaint and contained in the User Agreement.”

(SPA-16.) And all three Plaintiffs cited the specific allegations the District Court

highlighted as directly contradictory to the AC in their joint motion seeking

appointment as co-lead plaintiffs. (Supra 8.) Plaintiffs gloss over these critical parts

of the record that demonstrate an obvious attempt to evade dismissal and support the

District Court’s consideration of their earlier allegations.

      Plaintiffs’ obvious gamesmanship stands in stark contrast to out-of-circuit

cases on which Plaintiffs and Amici rely. For example, Plaintiffs rely heavily on West

Run Student Housing Associates, LLC v. Huntington National Bank, 712 F.3d 165

(3d Cir. 2013) (Br. 17-18, 25). But those plaintiffs sought to correct numbers that

had been alleged “in error”—not to blatantly contradict prior allegations to evade

dismissal or erase reference to an integral document. Id. at 171. West Run is further

distinguishable because Plaintiffs here represented that they would not change the

general nature of their claims (supra 10-11), which is the opposite of identifying an

error in need of correction as in West Run.




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      Finally, Plaintiffs try to spin their contradictory allegations as to title and

privity as “go[ing] to a legal question” rather being factual allegations. (Br. 26.) But

whether users transact with each other or CBI is a fact within Plaintiffs’ knowledge

and directly contradictory prior factual allegations can be considered. (Supra 37.)

Thus, even if “privity or ownership” are ultimate legal conclusions, they inescapably

flow from the “factual allegations that undermine the AC’s thesis that Coinbase was

a statutory seller.” (SPA-13); see New Windsor Volunteer Ambulance Corps, Inc. v.

Meyers, 442 F.3d 101, 111 (2d Cir. 2006) (Br. 24) (“To the extent that the

determination of ownership turns on the interpretation of provisions of a contract,

the existence and terms of the contract are questions of fact, but the effect of those

terms on ownership is strictly a question of law . . . .”). The Court’s decisions in In

re Motors Liquidation Co., 957 F.3d 357 (2d Cir. 2020) (Br. 24), and Stichting Ter

Behartiging Van de Belangen Van Oudaandeelhouders In Het Kapitaal Van Saybolt

International B.V. v. Schreiber, 407 F.3d 34 (2d Cir. 2005) (Br. 24), are

distinguishable for the same reason: Plaintiffs can be held to their prior contradictory

factual allegations even where such facts lead to a legal conclusion.




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D.     Plaintiffs’ Attempts to Evade the Consequences of the User Agreement
       Are Unavailing

             1.     The Court Need Not Decide Whether Plaintiffs Were Bound
                    by Any Specific Version of the UA

       Unable to escape the fatal consequences of considering the UA, Plaintiffs

contend that even if the UA were considered, “it would be irrelevant because no

[Plaintiff] is bound by it.” (Br. 42.) Setting aside that this assertion appears nowhere

in the AC, this argument is a red herring. Under black-letter law, a court may

consider any documents that are integral to or relied upon in a complaint and to

disregard any allegations that those materials contradict. (Supra §II.A.) As discussed

above, the UA is integral to both the Complaint and the Amended Complaint. (Supra

§II.A-C.) Because the UA “flatly contradict[s]” the AC’s allegations regarding

privity and title, the District Court was permitted to disregard those factual

allegations. (SPA-16; supra 28.) Once those allegations were disregarded, the

District Court correctly concluded that Plaintiffs failed to state a claim. (SPA-16-

17.)

       Plaintiffs’ argument is also refuted by the Complaint, which “expressly

references the User Agreement as covering the class period.” (SPA-13-14 n.5.) All

Plaintiffs transacted during the alleged class period beginning in October 2019

(supra 6) and, as District Court observed, predecessor versions in effect during that

time “contain[ed] substantially similar relevant language” that directly contradicts



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the AC’s allegations. (SPA-14 n.5, citing JA-620 §2.6.1.) 21 Thus, the District Court

was not required to parse which Plaintiff may be bound by which specific version of

the UA in order to rightly disregard contrary allegations. 22

               2.    The UA Does Not Purport to Waive Securities Claims

        Plaintiffs’ argument that the UA operates as an improper waiver in violation

of 15 U.S.C. §§ 77n and 78cc(a) (Br. 46-47) was properly rejected by the District

Court. The UA contains no such waiver, express or implied. The only case on which

Plaintiffs rely, McMahan & Co. v. Wherehouse Entertainment, Inc., 65 F.3d 1044

(2d Cir. 1995) (Br. 47), is readily distinguishable. It involved a no-action clause that

imposed pre-suit procedural requirements that were found to strip certain classes of



21
     Plaintiffs argue, as they did below, that the December 2019 UA, which was in
     place when Rodriguez signed up, suggests that Defendants are direct sellers. (Br.
     44.) But as Defendants explained below, that version too expressly states that title
     remains with users and does not transfer to any Coinbase entity. (JA-700 §2.6.1.)
     Regardless of when any Plaintiff signed up for the Platforms, their certifications
     indicate that they transacted no earlier than February 2019 and continued during
     the alleged class period. (JA-100 (Oberlander); JA-414 (Rodriguez); SA-25
     (Underwood).)
22
     The District Court’s consideration of the UA is consistent with other recent cases
     considering cryptocurrency trading platforms’ user agreements to evaluate title
     issues generally. See, e.g., In re Celsius Network LLC, 647 B.R. 631, 658 (Bankr.
     S.D.N.Y. 2023) (relying on Terms of Use to assess “title and ownership of assets”
     and finding that, based on the specific Terms of Use in that case, customers did
     not retain title), leave to appeal denied, 2023 WL 2648169 (S.D.N.Y. Mar. 27,
     2023); In re Voyager Dig. Holdings, Inc., 2022 WL 3146796, at *3 (Bankr.
     S.D.N.Y. Aug. 5, 2022) (considering customer agreement and concluding that
     customers retained title to funds held in certain accounts).


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plaintiffs from exercising their substantive rights under the securities laws. Id. at

1051. The UA does no such thing; rather, it reveals that Plaintiffs’ asserted claims

have no merit. See Harsco Corp. v. Segui, 91 F.3d 337, 343-44 (2d Cir. 1996)

(plaintiff “ha[d] not waived its rights [under the securities laws] to bring any suit”

and even though “the [contract] ‘weakens’ [plaintiff’s] ability to recover under the

[Exchange] Act . . . such a ‘weakening’ does not constitute a forbidden waiver”);

Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 390 (5th Cir.

2010) (even “clauses [that] change the nature of [a] representation” do not operate

as an improper waiver). Plaintiffs retain the right to bring claims under the securities

laws but these particular claims were dismissed on the merits because they depend

on allegations that the parties’ contract “flatly contradict.” (SPA-15.)

E.    Plaintiffs’ And Amici’s Arguments Regarding the PSLRA Are
      Unavailing

      Plaintiffs and Amici assert that by considering prior allegations the Order

“runs contrary to the text and purpose of the PSLRA” and undermines the lead

plaintiff selection process. (Br. 26-30; see also Amici 23-25.) This argument not

only disregards the PSLRA’s actual goals, but also ignores Plaintiffs’ conduct.

      Congress enacted the PSLRA to curtail “perceived abuses of the class-action

vehicle” and in response to “nuisance filings, targeting of deep-pocket defendants,

vexatious discovery requests, and ‘manipulation by class action lawyers of the

clients whom they purportedly represent.’” Merrill Lynch, Pierce, Fenner & Smith


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Inc. v. Dabit, 547 U.S. 71, 81 (2006). Plaintiffs and Amici ignore these express goals

and that a primary purpose of the PSLRA is “to deter or at least quickly dispose of

those suits whose nuisance value outweighs their merits.” Id. at 82. 23 Indeed, the

PSLRA strengthened the district court’s gatekeeping function by, inter alia,

“including more stringent pleading requirements.” Romano v. Kazacos, 609 F.3d

512, 517 (2d Cir. 2010). Likewise, the PSLRA mandates that “all discovery and

other proceedings shall be stayed during the pendency of any motion to dismiss.” 15

U.S.C. § 77z-1(b)(1); see also In re Vivendi Universal, S.A. Sec. Litig., 381 F. Supp.

2d 129, 129 (S.D.N.Y. 2003) (“Congress enacted the mandatory stay of discovery,

in part, to prevent plaintiffs from filing such frivolous lawsuits . . . .”).

        Plaintiffs and Amici argue that the Order will lead to a “race to the courthouse”

and “more contested motion practice over lead plaintiff appointment” by supposedly

requiring prospective lead plaintiffs to file their own complaint if they disagree with

any allegations in the first filed complaint. (Br. 28; Amici 24-25.) But there is no



23
     See also Bielski, 143 S. Ct. at 1921 (“Th[e] potential for coercion is especially
     pronounced in class actions, where the possibility of colossal liability can lead to
     what Judge Friendly called ‘blackmail settlements.’”); Blue Chip Stamps v.
     Manor Drug Stores, 421 U.S. 723, 741 (1975) (noting that potentially abusive
     discovery is a particular risk in securities litigation and that “to the extent that it
     permits a plaintiff with a largely groundless claim to simply take up the time of
     a number of other people, with the right to do so representing an in terrorem
     increment of the settlement value, rather than a reasonably founded hope that the
     process will reveal relevant evidence, it is a social cost rather than a benefit”).


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requirement that an individual even file a complaint to be appointed lead plaintiff.

See 15 U.S.C. § 78u-4(a)(3)(B)(i) (“[T]he court shall consider any [lead plaintiff]

motion made by a purported class member . . . including any motion by a class

member who is not individually named as a plaintiff in the complaint or

complaints . . . . ”); 15 U.S.C. § 77z-1(a)(3)(B)(i) (same); Buhrke Fam. Revocable

Tr. v. U.S. Bancorp, 2023 WL 1879525, at *2 (S.D.N.Y. Feb. 10, 2023) (“The

PSLRA creates a rebuttable presumption that ‘the most adequate plaintiff’ is the

person or group that . . . has either filed the complaint or made a motion [to be

appointed lead plaintiff] . . . .” (second alteration in original)). Plaintiffs and Amici

also ignore steps that all Plaintiffs (including Rodriguez) took to repeatedly and

affirmatively embrace the allegations of the Complaint in seeking to be appointed

co-lead plaintiffs (supra 8)—none of which future prospective lead plaintiffs must

replicate nor the PSLRA requires.

      Claiming consideration of the Complaint is “especially improper” for

Rodriguez (Br. 30-35; Amici 23-25) fares no better. Rodriguez voluntarily engaged

in all the aforementioned conduct relying upon the Complaint’s allegations and

individually affirmed that the Complaint was “the product of substantial

investigation” and “counsel invested substantial time” in filing it. (Supra 8.)

Rodriguez further swore that he “reviewed the Complaint” and “authorize[d] the

filing of a comparable complaint on [his] behalf.” (Supra 8.) Hardly an “absent class



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member” (Br. 32), Rodriguez had been appointed co-lead plaintiff when Plaintiffs

moved for emergency relief and it was Rodriguez’s counsel who represented that the

AC’s allegations would not materially differ from those in the Complaint. (Supra

10.) If Rodriguez had qualms about the Complaint or any of its underlying

allegations, he had ample opportunity to disclaim it; instead, he unequivocally

endorsed it.

        Thus, the District Court correctly concluded that Rodriguez’s interests were

adequately represented. (SPA-14 n.5.) Plaintiffs’ attempt to frame Rodriguez as a

stranger to the Complaint who should not be “[p]unish[ed] . . . for a different set of

plaintiffs’ allegations” (Br. 31) ignores what occurred below. 24

F.      Plaintiffs’ New Rule 15 Argument Is Incorrect

        Plaintiffs’ argument that Federal Rule of Civil Procedure 15 authorized their

contradictory pleading (Br. 17) was not raised below and should not be considered.

See Torcivia v. Suffolk Cnty., 17 F.4th 342, 367 (2d Cir. 2021) (“The law in this

Circuit is clear that where a party . . . advances arguments available but not pressed




24
     Plaintiffs and Amici criticize the District Court’s citation to Ortiz v. Fibreboard
     Corp., 527 U.S. 815 (1999), and contend that the District Court “made no effort
     to support its conclusory statement that Rodriguez’s interest[s] were adequately
     represented.” (Br. 33; Amici 23.) That the District Court did not list each of
     Rodriguez’s personal endorsements of the Complaint does not make them any
     less binding, nor does it suggest that the District Court looked past the numerous
     representations Rodriguez and his counsel made.


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below, waiver will bar raising the issue on appeal.” (alteration in original)), cert.

denied, 143 S. Ct. 438 (2022).

        Regardless, this argument is at odds with Plaintiffs’ conduct. Despite their

recitation of the procedural history relating to their request for emergency relief (Br.

8-10), Plaintiffs ignore that, to resolve that dispute, they specifically represented to

the District Court that their amendment would not change the general nature of their

claims. (Supra 10-11.) 25 This Court has affirmed dismissal where a plaintiff went

beyond the permitted scope of amendment because holding the plaintiff

“accountable for its previous representations to the court and considering [the] prior

complaint in deciding defendants’ motion to dismiss” was properly within the

district court’s discretion. Palm Beach Strategic Income, LP v. Salzman, 457 F.

App’x 40, 44 (2d Cir. 2012) (summary order). 26



25
     Plaintiffs ignore that the District Court granted them the opportunity to amend
     upon receipt of Defendants’ motion to dismiss. (JA-437 n.1.) Plaintiffs eschewed
     that opportunity; instead, Plaintiffs opposed the motion, making the dismissal of
     their federal claims with prejudice all the more appropriate.
26
     Leave to amend may be denied where a plaintiff attempts to “erase” prior
     admissions. Austin v. Ford Models, Inc., 149 F.3d 148, 155 (2d Cir. 1998),
     abrogated on other grounds by Swierkiewicz v. Sorema N.A., 534 U.S. 506
     (2002); see also Off. Comm. of Unsecured Creditors of Color Tile, Inc. v.
     Coopers & Lybrand, LLP, 322 F.3d 147, 167-68 (2d Cir. 2003) (allegations in a
     complaint “are ‘judicial admission[s]’ by which [the plaintiff] was ‘bound
     throughout the course of the proceeding’” and affirming denial of leave to
     amend). A case upon which Amici rely underscores this point. See Lucente v. Int’l
     Bus. Machs. Corp., 310 F.3d 243, 260 (2d Cir. 2002) (Amici 2, 5) (holding that
                                                                                 (cont’d)


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G.      The Other Proposed “Tools” Are Insufficient to Deter the Type of
        Gamesmanship Present Here

        None of the alternative tools that Amici proffer compel reversal of the Order

because each suffers from significant flaws. For example, Amici argue that a district

court “may properly consider admissible contradictory allegations as part of the

evidentiary record, but not at the 12(b)(6) stage.” (Amici 14-16.) But waiting to

address allegations designed to evade dismissal subjects defendants to precisely the

“abuses” of “nuisance filings” that Congress sought to avoid in putative securities

class actions and subverts the PSLRA’s goal of “quickly dispos[ing] of those suits

whose nuisance value outweighs their merits.” Dabit, 547 U.S. at 81-82. Holding

otherwise would also be inconsistent with Rule 1’s requirement “to secure the just,

speedy, and inexpensive determination of every action and proceeding.” Fed. R. Civ.

P. 1.

        Amici also assert that sanctions pursuant to Federal Rule of Civil Procedure

11 can deter gamesmanship. (Amici 18-20.) As a threshold matter, sanctions should

not be a routine tool. In any event, this case illustrates the inadequacy of that threat,

as it plainly did not deter gamesmanship here. Moreover, there is no reason why a

court, or defendants, should have to wait until the end of a case—after devoting



     plaintiff’s “attempt to amend his complaint was futile” because his “eleventh-
     hour attempt to change his theory of recovery” directly contradicted the position
     he “had consistently litigated [in] th[e] action”).


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substantial time and resources—to see if sanctions will be available for claims that

were meritless from the outset. The PSLRA, in addition to imposing a gatekeeping

requirement to dismiss frivolous litigation at the outset, already requires that “upon

final adjudication of the action [including on a motion to dismiss], the court shall

include in the record specific findings regarding compliance by each party and each

attorney representing any party with each requirement of Rule 11(b).” 15 U.S.C.

§ 77z-1(c)(1); see also Dabit, 547 U.S. at 81.

       Amici further suggest that a district court “may deny leave to amend under

Rule 15 for proposed amendments not filed as of right.” (Amici 17-18.) But

Plaintiffs represented that the general nature of their claims would not change and

had the opportunity to amend (again) but declined to do so. (Supra 10-11 & n.25.)

When confronted with this sort of gamesmanship, the district court, as a gatekeeper,

should be—and is—empowered to address it on a motion to dismiss.

III.   PLAINTIFFS FAIL TO STATE ANY CONTROL PERSON CLAIMS
       (JA-1008-10; JA-1020-22)

       Plaintiffs do not contest on appeal that their federal control person liability

claims rise and fall with their alleged primary violations. See Ark. Pub. Emps. Ret.

Sys. v. Bristol-Myers Squibb Co., 28 F.4th 343, 356 (2d Cir. 2022) (“To state a claim

under Sections 20(a) and 20A of the Exchange Act, a plaintiff must allege a primary

violation . . . .”); In re ProShares Tr. Sec. Litig., 728 F.3d 96, 109 (2d Cir. 2013)

(Securities Act). This Court should affirm their dismissal.


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IV.     PLAINTIFFS FAIL TO ADEQUATELY ALLEGE ANY STATE LAW
        CLAIMS (JA-1022-40)

        Defendants do not contest that the District Court had jurisdiction over the state

law claims but respectfully submit that this Court may affirm dismissal on the

grounds raised below—these state law claims that correspond to the federal claims

alleged under the Securities Act and Exchange Act are no broader than the federal

claims and therefore fail for the same reasons—or remand for consideration by the

District Court. 27

        Plaintiffs concede that their state law statutory seller and control person claims

are no broader than their federal counterparts. (Br. 58 (admitting “the applicable state

laws are generally interpreted in line with their federal analogs” and only “certain

of the state law claims” are broader).) Thus, those claims—by Plaintiffs’

admission—should be dismissed along with their corresponding federal claims.

        Plaintiffs’ Exchange Act equivalent claims also fail. Without authority,

Plaintiffs argue that none of these statutes “requires that a ‘contract’ exists—all that

need exist is a ‘purchase’ or ‘sale’ of a security.” (Br. 58.) But the text of each statute

limits liability only to those who offered or sold the purported security. See Cal.




27
     Although this Court “generally refrain[s] from considering issues not decided by
     the district court . . . [it] ha[s] ‘broad discretion’ to consider issues ‘raised, briefed,
     and argued [below].’” Sulzer Mixpac AG v. A&N Trading Co., 988 F.3d 174, 184
     (2d Cir. 2021), cert. denied, 142 S. Ct. 1359 (2022).


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Corp. Code § 25501.5(a)(1) (“A person who purchases a security from or sells a

security to a[n unregistered] broker-dealer . . . may bring an action . . . .”); Fla. Stat.

Ann. § 517.12(1) (“No dealer . . . shall sell or offer for sale any securities . . . unless

the person has been registered . . . .”); N.J. Stat. Ann. § 49:3-71(c) (“Any person who

offered, sold or purchased a security or engaged in the business of giving investment

advice to a person in violation of [§ 49:3-56 (prohibiting acting as an unregistered

broker-dealer)] is liable to that person . . . .”); (SDNY-ECF 59 at 28-29; SDNY-ECF

67 at 13). Thus, as Plaintiffs cannot refute, like Section 29(b), each relevant state

statute requires contractual privity. See Jackson v. Fischer, 2015 WL 1143582, at

*22 (N.D. Cal. Mar. 13, 2015) (“[California] Section 25501.5 expressly requires

privity of contract as a condition to liability . . . .”); Trilogy Props. LLC v. SB Hotel

Assocs. LLC, 2010 WL 7411912, at *12 (S.D. Fla. Dec. 23, 2010) (“[F]or a buyer to

have a claim under Florida Statutes § 517.211, buyer/seller privity must exist.”);

Lord Abbett Mun. Income Fund, Inc. v. Asami, 2014 WL 3417941, at *14 (N.D. Cal.

July 11, 2014) (New Jersey Section “49:3-71(a) requires privity in order to establish

liability”), aff’d, 653 F. App’x 553 (9th Cir. 2016); (SDNY-ECF 59 at 28-29;

SDNY-ECF 67 at 13). Section 29(b) shares that requirement. Frati v. Saltzstein,

2011 WL 1002417, at *5 (S.D.N.Y. Mar. 14, 2011) (a Section 29(b) plaintiff must

show that they are “in contractual privity with the defendant[s]” (alteration in

original)). Pursuant to the terms of the UA, users transact with each other and not



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with Defendants. Therefore, no privity exists and dismissal of the state law claims

should be affirmed.

                                 CONCLUSION

      For the reasons discussed herein, the order and judgment dismissing the

Amended Complaint should be affirmed.


 Dated: August 23, 2023
        New York, New York                /s/ Jay B. Kasner
                                          Jay B. Kasner
                                          Lara A. Flath
                                          Alexander C. Drylewski
                                          Abigail E. Davis
                                          SKADDEN, ARPS, SLATE,
                                             MEAGHER & FLOM LLP
                                          One Manhattan West
                                          New York, New York 10001-8602
                                          Phone: (212) 735-3000
                                          Fax: (212) 735-2000
                                          jay.kasner@skadden.com
                                          lara.flath@skadden.com
                                          alexander.drylewski@skadden.com
                                          abigail.sheehan@skadden.com

                                          Attorneys for Defendants-Appellees




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                                          /s/ Lara A. Flath
                                          Lara A. Flath

                                          Attorney for Defendants-Appellees




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